   8:19-cv-00227-JMG-CRZ Doc # 16 Filed: 09/24/19 Page 1 of 1 - Page ID # 39




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

ZACH HILLESHEIM,

                    Plaintiff,                           8:19-CV-227

vs.
                                                         JUDGMENT
NEBRASKA FURNITURE MART,
INC.,

                    Defendant.


        On the parties' Stipulation of Dismissal with Prejudice (filing 15), this
case is dismissed with prejudice, with each party bearing their own costs and
fees.


        Dated this 24th day of September, 2019.

                                            BY THE COURT:



                                            John M. Gerrard
                                            Chief United States District Judge
